BRUCE A. BLAKEMAN                                                         THOMAS A. ADAMS
  County Executive                                                         County Attorney




                                    COUNTY OF NASSAU
                             OFFICE OF THE COUNTY ATTORNEY




                                              August 24, 2022

VIA ECF
Hon. Gary R. Brown
Judge of the United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

Re: Vanchoff, et. al. v James, et. al.
    Docket No.: 2:22-cv-04075 (GRB/ST)



Dear Judge Brown:

        This office represents Anne T. Donnelly, sued in this action in her official capacity as
District Attorney for Nassau County (“Nassau DA”) pursuant to 42 U.S.C §1983. This letter is
submitted pursuant to the Court’s Individual Practice Rules to request a pre-motion conference
with respect to our intention to move to dismiss this action as against the Nassau DA pursuant
to Fed. Rule Civ. P. 12(b)(1) and (6).

        As set forth in the August 22, 2022 pre-motion conference filed on behalf of the State
Defendants [DE 25] and the August 23, 2022 pre-motion conference letter filed on behalf of
the Kings County District Attorney[DE 28], both the organizational and individual plaintiffs
lack standing to bring this action and for the sake of brevity, the State Defendants’ arguments
and the arguments submitted on behalf of the Kings County District Attorney are incorporated
by reference herein.

         In addition to plaintiffs’ lack of standing to bring this action, the Nassau DA is not a
proper party to this action which presents a facial challenge to the validity of a state law and
does not allege that any Nassau County policy, custom or practice is at issue in this case.
Importantly, none of the individual plaintiffs have alleged that they have been prosecuted by
the Nassau DA or threatened with prosecution by the Nassau DA. Thus, plaintiffs cannot satisfy
the test set forth by the Second Circuit in Vives v. City of N.Y., 524 F.3d 346 (2d Cir. 2008) for
determining the inflection point at which enforcement of a state law becomes a municipal
policy: (1) whether the municipality had a meaningful choice as to whether it would enforce
the state law; and (2) if so, whether the municipality adopted a discrete policy to enforce the
state law that represented a conscious choice by a municipal policymaker. Vives v. City of N.Y.,
524 F.3d at 352. See also, Juzumas v. Nassau Cty., 33 F.4th 681 (2d Cir. 2022).

                    ONE WEST STREET – MINEOLA, NEW YORK 11501-4820
                            516-571-3056, FAX 516-571-6684, 6604
        Moreover, even if the complaint did contain allegations that the Nassau DA made a
conscious choice to enforce a state law and adopted a discrete policy to do so, decisions whether
to prosecute a person for a violation of the Penal Law involve the Nassau DA’s prosecutorial
function for which she is absolutely immune from suit. Further, when prosecuting a criminal
matter, a district attorney in New York State, acting in a quasi-judicial capacity, represents the
State, not the county, and cannot be liable under §1983. Baez v. Hennessy, 853 F.2d 73, 77 (2d
Cir. 1988). While the Second Circuit has recognized certain exceptions where acts of a County
District Attorney may give rise to municipal liability, see, Bellamy v. City of N.Y., 914 F.3d
727, 757-758 (2d Cir. 2019), none of those exceptions are applicable here because there are no
allegations that would support a claim against the Nassau DA as a County actor rather than as
a State actor. Hence, the Nassau DA, sued herein in her official capacity is entitled to immunity
under the Eleventh Amendment. See, Faison v. Maccarone, No. 11-CV-0137 (JFB) (ETB),
2012 U.S. Dist. LEXIS 27330, at *30 (E.D.N.Y. Mar. 1, 2012).

       Therefore, based on the foregoing it is respectfully submitted that the Nassau DA should
be permitted to proceed with a motion to dismiss.

                                              THOMAS A. ADAMS
                                              Nassau County Attorney

                                                      Laurel R. Kretzing
                                              BY: ______________________________
                                                      LAUREL R. KRETZING
                                                      Deputy County Attorney
                                                      1 West Street
                                                      Mineola, NY 11501
                                                      lkretzing@nassaucountyny.gov
                                                      (516) 571-3012
Cc:    All Counsel via ECF




                                               2
